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                           Exhibit 42
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                                                                    T h e n e w e ng l a n d j o u r na l o f m e dic i n e




                                                                                    Special article


                                                           Fine-Particulate Air Pollution
                                                      and Life Expectancy in the United States
                                                    C. Arden Pope III, Ph.D., Majid Ezzati, Ph.D., and Douglas W. Dockery, Sc.D.


                                                                                         A BS T R AC T


                                                  Background
From the Department of Economics,                 Exposure to fine-particulate air pollution has been associated with increased mor-
Brigham Young University, Provo, UT               bidity and mortality, suggesting that sustained reductions in pollution exposure
(C.A.P.); the Harvard School of Public
Health, Boston (M.E., D.W.D.); and the            should result in improved life expectancy. This study directly evaluated the changes
Harvard Initiative for Global Health, Cam-        in life expectancy associated with differential changes in fine particulate air pollu-
bridge, MA (M.E.). Address reprint re-            tion that occurred in the United States during the 1980s and 1990s.
quests to Dr. Pope at 142 FOB, Brigham
Young University, Provo, UT 84602-2363,
or at cap3@byu.edu.                               Methods
                                                  We compiled data on life expectancy, socioeconomic status, and demographic char-
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                                                  acteristics for 211 county units in the 51 U.S. metropolitan areas with matching
                                                  data on fine-particulate air pollution for the late 1970s and early 1980s and the late
                                                  1990s and early 2000s. Regression models were used to estimate the association
                                                  between reductions in pollution and changes in life expectancy, with adjustment for
                                                  changes in socioeconomic and demographic variables and in proxy indicators for
                                                  the prevalence of cigarette smoking.

                                                  Results
                                                  A decrease of 10 μg per cubic meter in the concentration of fine particulate matter
                                                  was associated with an estimated increase in mean (±SE) life expectancy of 0.61±0.20
                                                  year (P = 0.004). The estimated effect of reduced exposure to pollution on life expec-
                                                  tancy was not highly sensitive to adjustment for changes in socioeconomic, demo-
                                                  graphic, or proxy variables for the prevalence of smoking or to the restriction of
                                                  observations to relatively large counties. Reductions in air pollution accounted for
                                                  as much as 15% of the overall increase in life expectancy in the study areas.

                                                  Conclusions
                                                  A reduction in exposure to ambient fine-particulate air pollution contributed to
                                                  significant and measurable improvements in life expectancy in the United States.




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             Fine-Particulate Air Pollution and Life Expectancy in the United States




    S
          ince the 1970s, the United States has                quired by the new PM2.5 standard, many sites be-
          made substantial efforts and investments to          gan measuring PM2.5 in 1999. Daily PM2.5 data
          improve air quality. As these efforts con-           were extracted from the EPA’s Aerometric Infor-
    tinue, a fundamental question remains: Do im-              mation Retrieval System database for 1999 and
    provements in air quality result in measurable             the first three quarters of 2000. Data for the four
    improvements in human health and longevity?                quarters were averaged when more than 50% of
    Associations between long-term exposure to fine-           the samples and 45 or more total sampling days
    particulate air pollution and mortality have been          were available for at least one of the two corre-
    observed in population-based studies1-3 and, more          sponding quarters in each year. Measurements
    recently, in cohort-based studies.4-11 Daily time-         were averaged first by monitoring site and then
    series and related studies,12-15 natural intervention      by metropolitan area. These calculated mean con-
    studies,16-18 and cohort studies10,19 all support the      centrations of PM2.5 were available for 116 U.S.
    view that relatively prompt and sustained health           metropolitan areas and were used as part of the
    benefits are derived from improved air quality.            extended analysis of the American Cancer Soci-
       We directly assessed associations between life          ety study.7 There were 51 metropolitan areas with
    expectancy and fine-particulate air pollution in           matching PM2.5 data for the early 1980s and the
    51 U.S. metropolitan areas, comparing data for             late 1990s.
    the period from the late 1970s to the early 1980s              As part of a nationwide analysis of disparities
    with matched data for the period from the late             in mortality across the counties, standard life-
    1990s to the early 2000s. We hypothesized that             table techniques21 were used to estimate annual
    temporal changes in fine-particulate air pollu-            life expectancies for more than 2000 individual
    tion between 1980 and 2000 would be associated             or merged county units, on the basis of individ-
    with changes in life expectancy. Specifically, we          ual death records from national mortality statis-
    hypothesized that metropolitan areas with the              tics and population data from the U.S. Census,
    largest declines in fine-particulate pollution would       as described in more detail elsewhere.22 For the
    have the largest increases in life expectancy, even        purposes of this study, life expectancy for the 215
    after adjustment for changes in various socioeco-          county units that were part of the 51 metropoli-
    nomic and demographic characteristics and proxy            tan areas with matching PM2.5 data were included.
    variables for status with regard to smoking.               The metropolitan areas were distributed through-
                                                               out the United States (Fig. 1). For each county
                       Me thods                                unit, life expectancy was calculated with the use
                                                               of pooled death and population data for the
    Data Collection and Study Areas                            5-year periods 1978 through 1982 and 1997
    For the years 1979 through 1983, the U.S. Environ-         through 2001. Because borough-specific death
    mental Protection Agency (EPA) maintained the              statistics were unavailable for the five boroughs
    Inhalable Particle Monitoring Network for re-              of New York for the earlier period, the boroughs
    search purposes. The network sampled particu-              were treated as a single unit, resulting in 211
    late matter in the air using dichotomous sam-              distinct county-level observations. As described
    plers with 15-μm and 2.5-μm cutoff points. On              elsewhere,22 U.S. Census data were used to col-
    the basis of these data, from 1979 through 1983,           lect information on county-level socioeconomic
    mean concentrations of particulate matter with             and demographic variables, including population,
    an aerodynamic diameter less than or equal to              income, and proportions of persons in the popu-
    2.5 μm (PM2.5) were calculated for 61 U.S. metro-          lation who were high-school graduates, had urban
    politan areas and used in the reanalysis and ex-           residences, had not lived in their current county
    tended analyses of the American Cancer Society             of residence 5 years before the census (5-year
    prospective cohort study.6,7 (Metropolitan-area–           immigration), and reported that they were white,
    specific means are presented in Appendix D of              black, or Hispanic. Income was adjusted for in-
    the American Cancer Society reanalysis report.6)           flation (base year, 2000).
    After 1983, no broad-based monitoring network                  In accordance with previous analyses,23,24 age-
    systematically and routinely collected PM2.5 data          standardized death rates for lung cancer and
    until the promulgation of the National Ambient             chronic obstructive pulmonary disease (COPD)
    Air Quality Standard for PM2.5 in 1997.20 As re-           were used as indicators of accumulated exposure


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                                             T h e n e w e ng l a n d j o u r na l o f m e dic i n e




               Portland,               Spokane,                  Minneapolis           Indianapolis          11 Cincinnati
                Oregon        Seattle Washington                                Chicago
                                                          Kansas City, 24                   19                  12 Cleveland
                                41       42                                       10                               1 Akron, Ohio
                   31                         Wichita,      Missouri                 Gary,   Dayton,
                                                              21          St. Louis                                 51 Youngstown, Ohio
                Boise,                         Kansas
                                                                              36    Indiana Ohio
                Idaho                            48 Topeka,                           17       14                     7 Buffalo, New York
                                                       Kansas                                                          44 Steubenville, Ohio
                  5                                      46
             Salt Lake City                                                                                      50 Worcester, Massachusetts
                   39                                                                                                6 Boston
           Reno, Nevada                                                                                         43 Springfield, Massachusetts
                35                                                                                               32 Providence, Rhode Island
                 38                                                                                                   25 New York City
            San Francisco                                                                                        20 Jersey City, New Jersey
                                                                                                                   28 Philadelphia
                 40
             San Jose,                                                                                              3 Allentown, Pennsylvania
             California
                                                                                                                   49 Wilmington, Delaware
                                                                                                                    47 Washington, D.C.
                 23
             Los Angeles                    15                                                                    26 Norfolk, Virginia
                                  29      Denver          33
                               Phoenix,                 Pueblo,
                   37                                  Colorado         18                      4                 30 Pittsburgh
                               Arizona                                                      Atlanta
               San Diego,                         16                  Houston
                California                     El Paso,                                                          34 Raleigh, North Carolina
                                                Texas              13
                                        2                                         22                           8 Charlotte, North Carolina
                                                                  Dallas                            45
                                   Albuquerque,                              Little Rock,
                                                           27                 Arkansas            Tampa,    9 Charleston, West Virginia
                                   New Mexico
                                                      Oklahoma City                               Florida

           Figure 1. Distribution of Study Areas.
           The locations of the counties included in the study are shown in gray, and the dots represent the approximate loca-
           tions of the 51 metropolitan areas in the study. The metropolitan areas are coded by number as follows: 1 — Akron,
           Ohio; 2 — Albuquerque, New Mexico; 3 — Allentown, Pennsylvania; 4 — Atlanta; 5 — Boise, Idaho; 6 — Boston;
           7 — Buffalo, New York; 8 — Charlotte, North Carolina; 9 — Charleston, West Virginia; 10 — Chicago; 11 — Cincin-
           nati; 12 — Cleveland; 13 — Dallas; 14 — Dayton, Ohio; 15 — Denver; 16 — El Paso, Texas; 17 — Gary, Indiana;
           18 — Houston; 19 — Indianapolis; 20 — Jersey City, New Jersey; 21 — Kansas City, Missouri; 22 — Little Rock,
           ­Arkansas; 23 — Los Angeles; 24 — Minneapolis; 25 — New York City; 26 — Norfolk, Virginia; 27 — Oklahoma
            City; 28 — Philadelphia; 29 — Phoenix, Arizona; 30 — Pittsburgh; 31 — Portland, Oregon; 32 — Providence, Rhode
            Island; 33 — Pueblo, Colorado; 34 — Raleigh, North Carolina; 35 — Reno, Nevada; 36 — St. Louis; 37 — San Di-
            ego, California; 38 — San Francisco; 39 — Salt Lake City; 40 — San Jose, California; 41 — Seattle; 42 — Spokane,
            Washington; 43 — Springfield, Massachusetts; 44 — Steubenville, Ohio; 45 — Tampa, Florida; 46 — Topeka, Kan-
            sas; 47 — Washington, D.C.; 48 — Wichita, Kansas; 49 — Wilmington, Delaware; 50 — Worcester, Massachusetts;
            51 — Youngstown, Ohio.



          to smoking. There were two reasons for using                          rates were calculated in 5-year age groups, and
          these indirect indicators of smoking. First, for                      were age-standardized for the 2000 U.S. popula-
          most study areas, data on the prevalence of smok-                     tion of adults 45 years of age or older (rates of
          ing are not available for the late 1970s and early                    death from these diseases are unstable among
          1980s, and second, the measures for lung cancer                       younger adults because there is such a small num-
          and COPD indicate the population’s cumulative                         ber of cases). Additional estimates of changes in
          exposure to smoking. The International Classifica-                    the prevalence of cigarette smoking were ob-
          tion of Diseases, 10th Revision (ICD-10) was used to                  tained from health surveys for use in sensitivity
          calculate death rates for lung cancer (ICD-10 codes                   analyses of a subgroup of the metropolitan areas
          C33-C34 and D02.1-D02.2) and COPD (ICD-10                             with data in both periods. The prevalence of
          code J40-J44). The death rates were based on the                      smoking among adults in metropolitan areas for
          underlying cause of death in individual death                         the years 1998 through 2002 could be estimated
          records from national mortality statistics and                        for 50 of the 51 metropolitan study areas from the
          population data from the U.S. Census, pooled for                      Behavioral Risk Factor Surveillance System (www.
          the same 5-year periods as life expectancy. Death                     cdc.gov/brfss/technical_infodata/surveydata.htm);

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    the prevalence for the years 1978 through 1980
                                                                Table 1. Summary Characteristics of the 217 Counties Analyzed.*
    could be estimated for 24 of the metropolitan
    study areas with data from the National Health              Variable                                                      Mean Value
    Interview Survey (www.cdc.gov/nchs/nhis.htm).               Life expectancy (yr)
    The change in the prevalence of smoking was                     1978–1982                                                  74.32±1.52
    estimated for each of 24 metropolitan areas on                  1997–2001                                                  77.04±1.82
    the basis of data from these sources for both                   Change                                                      2.72±0.93
    periods.                                                    PM2.5 (μg/m3)
                                                                    1979–1983                                                  20.61±4.36
    Statistical Analysis                                            1999–2000                                                  14.10±2.86
    For both 5-year periods, life expectancies were                 Reduction                                                   6.52±2.94
    plotted against PM2.5 concentrations, and increas-          Per capita income (in thousands of $)
    es in life expectancy from the first period to the              1979                                                       15.18±2.64
    second were plotted against reductions in the                   1999                                                       23.67±5.05
    PM2.5 concentration. Cross-sectional regression                 Change                                                      8.49±3.16
    models were estimated for both time periods,                Population (in hundreds of thousands)
    and first-difference regression models were esti-               1980                                                          3.83±8.47
    mated by regressing increases in life expectancy                2000                                                          4.82±10.13
    against reductions in monitored PM2.5 concentra-                Change                                                        0.99±2.26
    tions. The sensitivity of the estimates on the              5-Year in-migration (proportion of population)†‡
    pollution-related effect was explored with the use              1980                                                        0.25±0.10
    of five different approaches: including combina-                2000                                                        0.24±0.08
    tions of demographic, socioeconomic, and proxy                  Change                                                     −0.01±0.06
    variables for prevalence of smoking in the mod-             Urban residence (proportion of population)†
    els, restricting the analysis to counties that had a            1980                                                          0.58±0.33
    population of 100,000 or more in 1986 or to the                 2000                                                          0.78±0.22
    51 largest counties in each metropolitan area, es-              Change                                                        0.20±0.18
    timating population-weighted regression models,             High-school graduates (proportion of population)†
                                                                    1980                                                          0.68±0.11
    stratifying the analysis according to the pollution
                                                                    2000                                                          0.87±0.05
    levels for 1979 through 1983 (in order to evaluate
                                                                    Change                                                        0.19±0.15
    the influence of baseline pollution levels), and in-
                                                                Black population (proportion of population)†§
    cluding direct measures of change in the preva-
                                                                    1980                                                       0.097±0.12
    lence of smoking for the subgroup of study areas
                                                                    2000                                                       0.115±0.13
    with adequate survey data on smoking. Because
                                                                    Change                                                     0.018±0.06
    of the potential for lack of statistical indepen-
                                                                Hispanic population (proportion of population)†§
    dence between counties in the same metropoli-
                                                                    1980                                                      0.035±0.072
    tan area, clustered standard errors that were ro-
                                                                    2000                                                      0.068±0.093
    bust with regard to within-cluster correlation25,26
                                                                    Change                                                    0.033±0.043
    (clustered by the 51 metropolitan areas) were esti-
                                                                Deaths from lung cancer (no./10,000 population)
    mated for all models except for the analysis that
                                                                    1979–1983                                                 14.38±2.95
    included only the 51 largest counties in each
                                                                    1997–2001                                                 16.73±3.27
    metropolitan area. Models were estimated with
                                                                    Change                                                     2.35±2.77
    the use of PROC REG and PROC SURVEYREG in
                                                                Deaths from COPD (no./10,000 population)
    SAS, version 9.2 (SAS Institute).
                                                                    1979–1983                                                  7.92±1.85
                                                                    1997–2001                                                 12.37±2.71
                        R e sult s                                  Change                                                     4.45±2.43

    Summary statistics for key study variables are list-      * Plus–minus values are means ±SD. COPD denotes chronic obstructive pulmo-
                                                                nary disease, and PM2.5 particulate matter with an aerodynamic diameter less
    ed in Table 1. In Figures 2 and 3, cross-sectional          than or equal to 2.5 μm.
    life expectancies are plotted against air-pollution       † Proportions of the population are based on U.S. Census data.
    data for the earlier and later time periods, re-          ‡ Five-year in-migration refers to the proportion of the population who did not
                                                                reside in the county 5 years earlier.
    spectively. At least five observations can be made        § Data on race and ethnic group were self-reported.
    on the basis of the data presented in these two

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                                                          80




                                                          78



                                                                                                                  24
                        Life Expectancy, 1978–1982 (yr)



                                                          76                                                                 40
                                                                                                                          1639 5 37
                                                                                              15 46             41
                                                                                                           42          50           31
                                                                                                       2     32
                                                                                                                48     38 43629 3
                                                                                              33           45                                                       47
                                                          74                                                                21                                       1 23
                                                                                                                 27               13          14
                                                                                                                                             2234       19
                                                                                                                                            49         51
                                                                                                                                                      36               7           30
                                                                                                       35                                             4      8 11                 44
                                                                                                                             18                     9       28
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                                                                                                                                       26
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                                                                                                                                                                            17
                                                          72                                                                            20




                                                          70




                                                          68
                                                          0
                                                               0        5                10                      15                     20                    25                   30
                                                                                                   PM2.5, 1979–1983 (µg/m3)


                       Figure 2. Cross-Sectional Life Expectancies for 1978–1982, Plotted against PM2.5 Concentrations for 1979–1983.
                       Dots and circles labeled with numbers represent population-weighted mean life expectancies at the county level
                       and the metropolitan-area level, respectively. The solid and broken lines represent regression lines with the use of
                       county-level and metropolitan-area–level
                                                          ICM
                                                                  AUTHOR:   Pope respectively. TheRETAKE
                                                                  observations,                                 1st areas are coded by number as
                                                                                                      metropolitan
                                                                                                                2nd
    An interactive                                        REG F FIGURE:
                       follows: 1 — Akron, Ohio; 2 — Albuquerque,     New2 Mexico;
                                                                             of 4     3 — Allentown, Pennsylvania; 4 — Atlanta; 5 — Boise,
                                                                                                                3rd
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                       Oklahoma City; 28 — Philadelphia; 29 — Phoenix, Arizona; 30 —NOTE:
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                       dence, Rhode Island; 33 — Pueblo, Colorado; 34 —      Raleigh,
                                                                           Please checkNorth  Carolina; 35 — Reno, Nevada; 36 — St. Louis; 37
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                       — San Diego, California; 38 — San Francisco; 39 — Salt Lake City; 40 — San Jose, California; 41 — Seattle; 42 —
                       Spokane, Washington; 43 — Springfield,
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                       peka, Kansas; 47 — Washington, D.C.; 48 — Wichita, Kansas; 49 — Wilmington, Delaware; 50 — Worcester, Massa-
                       chusetts; 51 — Youngstown, Ohio. PM2.5 denotes particulate matter with an aerodynamic diameter less than or
                       equal to 2.5 μm.



                      figures: PM2.5 concentrations generally declined                                              Estimates of the associations between PM2.5
                      during the 1980s and 1990s; life expectancies in-                                         and life expectancies with the use of cross-sec-
                      creased between the two periods; in both periods                                          tional regression models were sensitive to the
                      there were cross-sectional negative associations                                          inclusion of socioeconomic and demographic
                      between life expectancies and pollution levels;                                           variables and proxy variables for the prevalence
                      similar negative associations were observed when                                          of cigarette smoking and especially the propor-
                      analyses were performed with the use of county-                                           tion of high-school graduates, which was highly
                      level or metropolitan-area–level observations; and                                        correlated with per capita income. For example,
                      there was substantial variation, or scatter, around                                       the association between PM2.5 concentrations and
                      the regression line, indicating that the associa-                                         life expectancy was stronger in the period with
                      tion with air pollution explains only part of the                                         less pollution, without adjustment for any cova-
                      cross-sectional variation — clearly, other impor-                                         riates. On the basis of regression models without
                      tant factors influence life expectancy.                                                   any covariates, an increase in the PM2.5 concen-


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                                        82



                                                                                                       40
                                        80

                                                                             5 41             38
                                                                                      24
                                                                                                             37
                                                                                  1639 6
      Life Expectancy, 1997–2001 (yr)




                                        78                                             3250        3                          23
                                                                 2        3142    15     29           4725
                                                                                          43              34 1
                                                                                                  7
                                                                     33                     48
                                                                                            4521   13 20 30
                                                                                                                12
                                        76                                       35                   4918 8 14 10 11 4
                                                                                           46       28       51
                                                                                               26            36
                                                                                                            19     44
                                                                                       27                   22
                                                                                                         17        9

                                        74




                                        72




                                        70
                                         0
                                             0               5                        10                15                    20       25              30
                                                                                           PM2.5, 1999–2000 (µg/m3)

     Figure 3. Cross-Sectional Life Expectancies for 1997–2001, Plotted against PM2.5 Concentrations for 1999–2000.
     Dots and circles labeled with numbers represent population-weighted mean life expectancies at the county level
     and the metropolitan-area level, respectively. The solid and broken lines represent regression lines with the use of                                     An interactive
     county-level and metropolitan-area–level   observations,
                                                AUTHOR:    Pope respectively. TheRETAKE
                                                                                      metropolitan
                                                                                                1st areas are coded by number as                              version of this
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     follows: 1 — Akron, Ohio; 2 — Albuquerque,       New3 Mexico;                              2nd
                                                                     3 — Allentown, Pennsylvania;      4 — Atlanta; 5 — Boise,                                figure is available
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     Idaho; 6 — Boston; 7 — Buffalo, New      York; 8 —   Charlotte,  North  Carolina;   9 —    3rd
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     — Little Rock, Arkansas; 23 — Los Angeles; 24 — Minneapolis;   Combo25 — New York City; 26 — Norfolk, Virginia; 27 —
     Oklahoma City; 28 — Philadelphia; 29 — Phoenix,       Arizona;
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                                            Figure has34been
     dence, Rhode Island; 33 — Pueblo, Colorado;          — redrawn
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     — San Diego, California; 38 — San Francisco; 39 — Salt Lake City; 40 — San Jose, California; 41 — Seattle; 42 —
     Spokane, Washington; 43 — Springfield, Massachusetts; 44 — Steubenville, Ohio; 45 — Tampa, Florida; 46 —
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     Topeka, Kansas; 47 — Washington, D.C.; 48 — Wichita, Kansas; 49 — Wilmington, Delaware; 50 — Worcester, Mas-
     sachusetts; 51 — Youngstown, Ohio. PM2.5 denotes particulate matter with an aerodynamic diameter less than or
     equal to 2.5 μm.



    tration of 10 μg per cubic meter was associated                                                    0.46±0.22 year (P = 0.039) from 1978 to 1982 and
    with mean (±SE) reductions in life expectancy of                                                   0.37±0.20 year (P = 0.091) from 1997 to 2001.
    1.19±0.27 years from 1978 to 1982 and 2.02±0.50                                                       In Figure 4, increases in life expectancies are
    years from 1997 to 2001 (P<0.001 for both com-                                                     plotted against reductions in PM2.5 concentrations
    parisons). However, models that controlled for                                                     from approximately 1980 to 2000. Several addi-
    income, population, cross-county migration, and                                                    tional important observations can be made on the
    the proportion of the population that was black                                                    basis of these data: on average, life expectancy
    or Hispanic or had an urban residence and that                                                     increased more in areas with larger reductions
    also included proxy variables for the prevalence                                                   in air pollution; similar positive associations were
    of smoking showed smaller associations, espe-                                                      observed between gains in life expectancy and
    cially in the second period. An increase of 10 μg                                                  reductions in PM2.5 concentrations at the county
    per cubic meter in the PM2.5 concentration was                                                     level and the metropolitan-area level; and there
    associated with a reduction in life expectancy of                                                  was substantial variation, or scatter, around the


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                         Change in Life Expectancy, 1980s–1990s (yr)



                                                                                                                            34          6
                                                                                                                       41        10                                      12
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                                                                                                 18                               3                                           47                   30
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                                                                                                                 Reduction in PM2.5, 1980–2000 (µg/m3)

                       Figure 4. Changes in Life Expectancy for the 1980s–1990s, Plotted against Reductions in PM2.5 Concentrations
                       for 1980–2000.
                       Dots and circles labeled with numbers represent changes in population-weighted mean life expectancies at the
    An interactive                                         level, AUTHOR:
                       county level and metropolitan-areaICM                 PopeThe solid and broken
                                                                  respectively.                       RETAKE      1st
                                                                                                          lines represent  regression lines with the
                                                                                                                  2nd
    version of this                                       REG F FIGURE:observations,
                       use of county-level and metropolitan-area–level     4 of 4        respectively. The metropolitan      areas are coded by
                                                                                                                  3rd
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                       Louis; 37 — San Diego, California;  38 — San Francisco; 39 — Salt LakeISSUE:
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                       tle; 42 — Spokane, Washington; 43 — Springfield, Massachusetts; 44 — Steubenville, Ohio; 45 — Tampa, Florida;
                       46 — Topeka, Kansas; 47 — Washington, D.C.; 48 — Wichita, Kansas; 49 — Wilmington, Delaware; 50 — Worces-
                       ter, Massachusetts; 51 — Youngstown, Ohio. PM2.5 denotes particulate matter with an aerodynamic diameter less
                       than or equal to 2.5 μm.


                      regression line, indicating that factors other than                                                             or more in 1986 or to the 51 largest counties in
                      changes in air pollution were influencing the                                                                   each metropolitan area. In all models, increased
                      changes in life expectancy.                                                                                     life expectancies were significantly associated
                         Table 2 shows regression coefficients for the                                                                with decreases in PM2.5. According to model 4,
                      association between increases in life expectancy                                                                a decrease of 10 μg per cubic meter in PM2.5 was
                      and reductions in PM2.5 for models with various                                                                 associated with an adjusted increase in life ex-
                      combinations of socioeconomic and demographic                                                                   pectancy equal to 0.61±0.20 year. The estimated
                      variables and proxy variables for the prevalence                                                                effect of reduced PM2.5 on life expectancy was
                      of smoking. Table 2 includes models that are re-                                                                not highly sensitive after adjustment for changes
                      stricted to counties with a population of 100,000                                                               in socioeconomic and demographic variables and


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                                                                                                                            Table 2. Results of Selected Regression Models, Including Estimates of the Increase in Life Expectancy Associated with a Reduction in PM2.5 of 10 μg per Cubic Meter, Adjusted
                                                                                                                            for Socioeconomic, Demographic, and Proxy Indicators for Prevalence of Smoking.*

                                                                                                                            Variable                                                               Model 1          Model 2          Model 3         Model 4          Model 5†         Model 6‡        Model 7‡
                                                                                                                                                                                                                                                       years
                                                                                                                            Intercept                                                            2.25±0.21§       0.80±0.19§       1.78±0.27§       1.75±0.27§       2.02±0.34§        1.71±0.51§      2.09±0.36§
                                                                                                                            Reduction in PM2.5    (10 µg/m3)                                     0.72±0.29¶       0.83±0.20§       0.60±0.20§       0.61±0.20§       0.55±0.24¶        1.01±0.25§      0.95±0.23§
                                                                                                                            Change in income (in thousands of $)                                      —           0.17±0.02§       0.13±0.02§       0.13±0.01§       0.11±0.02§        0.15±0.04§      0.11±0.02§
                                                                                                                            Change in population (in hundreds of thousands)                           —           0.08±0.02§       0.05±0.02§       0.06±0.02§       0.05±0.02§        0.04±0.02       0.05±0.02¶
                                                                                                                            Change in 5-yr in-migration (proportion of population)‖**                 —           0.19±0.79        1.28±0.80            —                —           –0.02±1.83              —
                                                                                                                            Change in high-school graduates (proportion of population)‖               —           0.17±0.56       –0.11±0.53            —                —           –0.90±0.86              —




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                                                                                                                            Change in urban residence (proportion of population)‖                     —          –0.76±0.32¶      –0.40±0.25            —                —             0.03±1.88             —
                                                                                                                            Change in black population (proportion of population)‖††                  —          –1.94±0.58§      –2.74±0.58§      –2.70±0.64§      –2.95±0.78§      –5.06±2.12§      –5.98±1.99§




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                                                                                                                            Change in Hispanic population (proportion of population)‖††               —           1.46±1.23        1.33±1.10            —                —             2.44±2.22             —
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                                                                                                                            Change in lung-cancer mortality rate (no./10,000 population)              —                —          –0.07±0.02§      –0.06±0.02§      –0.07±0.03¶        0.01±0.03       0.02±0.03
                                                                                                                            Change in COPD mortality rate (no./10,000 population)                     —                —          –0.07±0.02§      –0.08±0.02§      –0.09±0.03§      –0.15±0.06§      –0.19±0.05§
                                                                                                                            No. of county units                                                      211              211              211              211              127              51                 51




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                                                                                                                            R2‡‡                                                                     0.05             0.47             0.55            0.53             0.60             0.76                0.74




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                                                                                                                           *		 Plus–minus values are regression coefficients ±SE. COPD denotes chronic obstructive pulmonary disease, and PM2.5 particulate matter with an aerodynamic diameter less than or
                                                                                                                               equal to 2.5 μm.
                                                                                                                           †		 This model included only counties with populations of 100,000 or more in 1986.
                                                                                                                           ‡		 This model included only counties with the largest 1986 population in the statistical metropolitan area.




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                                                                                                                           §		 For these values, P<0.01.
                                                                                                                           ¶		 For these values, P<0.05.
                                                                                                                           ‖		 Proportions of the population are based on U.S. Census data.
                                                                                                                           ** Five-year in-migration refers to the proportion of the population who did not reside in the county 5 years earlier.
                                                                                                                                                                                                                                                                                                                    Fine-Particulate Air Pollution and Life Expectancy in the United States




                                                                                                                           †† Data on race and ethnic group were self-reported.
                                                                                                                           ‡‡ R2 denotes the coefficient of determination.




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           proxy variables for the prevalence of smoking or           the change in the prevalence of smoking was not
           to data restricted to large counties.                      significant (P>0.15), and the estimated effect of a
              In a variety of related sensitivity analyses, the       change in the rate of death from COPD was large-
           effect estimate for a change in PM2.5 was quite            ly unaffected. These results indicate that county-
           robust. In stepwise regressions, a reduction in            level changes in the rate of death from COPD were
           PM2.5 generally entered the model, after changes           more robustly associated with county-level changes
           in per capita income and proxy indicators for              in life expectancy than metropolitan-area–level
           prevalence of smoking were introduced; the effect          estimates of changes in the prevalence of smok-
           estimate was stable with the inclusion of other            ing based on limited survey data.
           variables. When models 4 and 7 in Table 2 were
           reestimated with the use of weighted regression                                Discussion
           (weighting by the square root of the average
           population for the two periods), similar results           Improvements in life expectancy during the 1980s
           were observed, with a decrease of 10 μg per                and 1990s were associated with reductions in
           cubic meter in PM2.5 associated with an esti-              fine-particulate pollution across the study areas,
           mated increase in life expectancy equal to 0.58±0.20       even after adjustment for various socioeconomic,
           year for model 4 and 0.86±0.24 year for model 7.           demographic, and proxy variables for prevalence
           Stratified estimates of model 4 in Table 2 were            of smoking that are associated with health through
           calculated for the 44 counties in the 15 least-            a range of mechanisms. Indirect calculations
           polluted metropolitan areas in the earlier period          point to an approximate loss of 0.7 to 1.6 years of
           (PM2.5, <17 μg per cubic meter) (Fig. 2) as com-           life expectancy that can be attributed to long-
           pared with all the other, more-polluted areas. A           term exposure to fine-particulate matter at a
           reduction of 10 μg per cubic meter in PM2.5                concentration of 10 μg per cubic meter, with the
           was associated with an increased life expectancy           use of life tables from the Netherlands and the
           of 0.95±0.57 for the least-polluted areas and              United States and risk estimates from the pro-
           0.57±0.26 year for other areas; there was no               spective cohort studies.27,28 In the present analy-
           significant difference in the pollution effect for         sis, a decrease of 10 μg per cubic meter in the
           areas that initially had relatively low or high            fine-particulate concentration was associated with
           levels of pollution (P≥0.15).                              an estimated increase in life expectancy of ap-
              Similarly, the effect estimate for the change           proximately 0.61±0.20 year — an estimate that is
           in PM2.5 was not highly sensitive to the inclusion         nearly as large as these indirect estimates.
           of survey-based estimates of metropolitan-area–                For the approximate period of 1980 through
           level changes in the prevalence of cigarette smok-         2000, the average increase in life expectancy was
           ing. For example, when model 4 in Table 2 was              2.72 years for the counties in this analysis. Re-
           reestimated with the use of data from the 136              duced air pollution was only one factor contrib-
           counties in the 24 metropolitan areas with match-          uting to increased life expectancies, with its ef-
           ing survey data for the prevalence of smoking, a           fects overlapping with those of other factors. On
           reduction in PM2.5 of 10 μg per cubic meter was            the basis of the average reduction in the PM2.5
           associated with an estimated increase in life ex-          concentration (6.52 μg per cubic meter) in the
           pectancy of 0.61±0.22 year without inclusion of            metropolitan areas included in this analysis and
           the change in the variable for smoking preva-              the effect estimate from model 4 in Table 2, the
           lence (P = 0.011) and 0.64±0.22 year with its in-          average increase in life expectancy attributable
           clusion (P = 0.007). When model 7 in Table 2 was           to the reduced levels of air pollution was approxi-
           reestimated with data restricted to the 24 largest         mately 0.4 year (6.52 × 0.061). Multicausality and
           counties in the 24 metropolitan areas with                 competing risk issues make it difficult to quan-
           matching survey data for the prevalence of smok-           tify changes in life expectancy attributable to
           ing, a reduction of 10 μg per cubic meter in PM2.5         single risk factors, but these results suggest that
           was associated with an estimated increase in life          the individual effect of reductions in air pollution
           expectancy of 0.94±0.32 year without inclusion             on life expectancy was as much as 15% of the
           of the change in the variable for smoking preva-           overall increase. In metropolitan areas where re-
           lence (P = 0.007) and 1.00±0.34 years with its in-         ductions in PM2.5 were 13 to 14 μg per cubic
           clusion (P = 0.008). When added to these models,           meter, the contribution of improvements in air


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     quality to increases in life expectancy may have           ropolitan areas that could be included in the
     been as much as 0.82 year (13.5 × 0.061).                  analysis and our ability to evaluate spatial and
         In previous cross-sectional analyses, investiga-       temporal associations with more specificity. Fur-
     tors have observed associations between mortal-            thermore, because the analysis was population-
     ity rates and particulate-air pollution,1-3 but the        based, we were limited in our ability to control
     size of these associations was sensitive to efforts        for additional potential confounders, especially
     to control the analyses for potential confounders.         various individual and community risk factors that
     Our analysis showed similar sensitivity for the            may have been affect­ed by policies that were
     strictly cross-sectional associations with life ex-        broadly related to environmental regulation.
     pectancy. The primary strength of this analysis,               For example, the three variables in the analy-
     however, is the additional use of temporal varia-          sis that were most strongly associated with
     tions. The availability of data on changes in pollu-       changes in life expectancy are all proxy variables.
     tion exposure across metropolitan areas from 1980          Increases in per capita income probably serve as
     to 2000 provides the opportunity for an assess-            a proxy variable for, or are highly correlated with,
     ment that is similar to a natural experiment.              such factors as access to medical care, higher-
     Cross-sectional characteristics that do not change         quality diets, and healthier lifestyles. The use of
     over time are controlled as if by design. Charac-          rates of death from lung cancer and COPD as
     teristics that affect life expectancy and that change      proxy variables was necessitated by the lack of
     over time — but not in correlation with changes            reliable data on smoking, especially for the period
     in pollution — are unlikely to confound the re-            from 1978 through 1982, yet these rates reflect
     sults. Even with underlying spatial correlations, if       the cumulative effects of smoking, which may
     the temporal changes in these characteristics are          similarly affect life expectancy. Although the large
     relatively less correlated, adjusted effect estimates      majority of deaths from lung cancer and COPD
     from temporal regression models are likely to be           are attributable to smoking,23 pollution may also
     more robust. In this analysis of differences in            have an effect (albeit much smaller) on these
     temporal changes, the estimated effects of re-             health outcomes,7,8 potentially leading to conser-
     duced PM2.5 exposure on increases in life expec-           vative estimates of the effects of pollution when
     tancy were robust in analyses adjusted for socio-          such proxies are used. The PM2.5 variable may
     economic, demographic, and proxy variables for             serve, in part, as a proxy variable for copollut-
     the prevalence of smoking, as well as in an analy-         ants, and changes in PM2.5 may represent esti-
     sis restricted to large counties.                          mates of changes in area-wide ambient concen-
         From an analytic perspective, it would have            trations based on fixed-site monitoring during
     been informative if pollution had actually increased       the two time periods instead of being a direct
     in some of the areas that were initially less pol-         measure of changes in personal exposures. Never­
     luted. However, pollution did not increase in any          theless, U.S. air-quality standards and related
     of the metropolitan areas, and the potential for           public policies are designed to restrict ambient
     reducing pollution was greater in the areas that           pollutant concentrations in an effort to protect
     were more polluted initially than in those that            human health.20 Previous prospective cohort stud-
     were less polluted. Stratified analyses showed no          ies, using measures of ambient concentrations of
     significant differences in pollution effects for           pollutants and controlling for smoking and other
     the areas that initially had low or high pollution,        individual risk factors, have suggested similar
     which is consistent with previous findings on the          improvements in survival and life expectancy, on
     effects of PM2.5 even at relatively low concentra­         the basis of indirect estimates.4-11 The results of
     tions.7,10,11,15,19                                        our population-based analysis, which showed
         An appealing aspect of this analysis is that it        similar improvements in life expectancy associ-
     is a simple, direct, and transparent exploration           ated with public-policy–related reductions in am-
     of the association between life expectancy and air         bient pollutant concentrations, corroborate these
     pollution, with the use of available monitored data        previous findings.
     on PM2.5 for both the first and second time peri-              In conclusion, the results of this analysis are
     ods. However, limited monitoring of data on PM2.5          generally good news. Although multiple factors
     air pollution, especially for the period from 1979         affect life expectancy, our findings provide evi-
     through 1983, reduced both the number of met-              dence that improvements in air quality have con-


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           health and life expectancy in the United States.                       to this article was reported.
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           of Schools of Public Health (U36/CCU300430-23), the Harvard            Centers for Disease Control and Prevention or the Association of
           Environmental Protection Agency (EPA) Particulate Matter Cen-          Schools of Public Health. Although funded in part by the EPA, this
           ter (EPA RD832416), and the National Institute of Environmental        study has not been subjected to the agency’s peer- and policy-review
           Health Sciences (ES0002); and funds from the Mary Lou Fulton           process and therefore does not necessarily reflect the views of the
           Professorship, Brigham Young University.                               agency, and no official endorsement should be inferred.


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